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                                                      #:18651


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                  10     Attorneys for Plaintiff Francesca Gregorini
                  11
                                             UNITED STATES DISTRICT COURT
                  12
                                           CENTRAL DISTRICT OF CALIFORNIA
                  13
                  14
                         Francesca Gregorini,                     Case No. 2:20-cv-00406-SSS-JC
                  15
                                        Plaintiff,               PLAINTIFF FRANCESCA
                  16                                             GREGORINI’S NOTICE OF
                               v.                                MOTION AND MOTION IN LIMINE
                  17                                             NO. 5 TO EXCLUDE EVIDENCE
                         APPLE INC., a California                AND ARGUMENTS ABOUT
                  18     corporation; M. NIGHT                   DISCOVERY SANCTIONS AGAINST
                         SHYAMALAN, an individual,               MS. GREGORINI AND RELATED
                  19     BLINDING EDGE PICTURES,                 DISCOVERY MOTIONS
                         INC., a Pennsylvania corporation;
                  20     UNCLE GEORGE PRODUCTIONS,               Date:       November 15, 2024
                         a Pennsylvania corporate; ESCAPE
                  21     ARTISTS LLC, a California limited       Time:       2:00 P.M.
                         liability company; DOLPHIN              Dept.:      Courtroom 2
                  22     BLACK PRODUCTIONS, a
                         California corporation; TONY
                  23     BASGALLOP, an individual;
                         ASHWIN RAJAN, an individual;
                  24     JASON BLUMENTHAL, an
                         individual; TODD BLACK, an
                  25     individual; STEVE TISCH, an
                         individual; and DOES 1-10, inclusive,
                  26
                                        Defendants.
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ROBINS KAPLAN LLP                                                         PLAINTIFF’S MOTION IN LIMINE NO. 5 TO
  ATTORNEYS AT LAW                                                         EXCLUDE EVIDENCE AND ARGUMENTS
    LOS ANGELES
                                                                                  ABOUT DISCOVERY SANCTIONS
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                     1          PLEASE TAKE NOTICE that on November 15, 2024, at 2:00 p.m. or as
                     2   soon as may be heard in Courtroom 2 of the United States District Court for the
                     3   Central District of California, 3470 Twelfth Street, Riverside, California 92501,
                     4   Plaintiff Francesca Gregorini will and hereby moves in limine for an order
                     5   excluding evidence and arguments about discovery sanctions against Ms. Gregorini
                     6   or the related discovery motions from trial.
                     7          This motion is made on the grounds that any evidence or arguments over the
                     8   discovery sanctions against Ms. Gregorini or underlying discovery disputes are
                     9   irrelevant and thus inadmissible under Federal Rules of Evidence 401 and 402. Any
                  10     potential probative value of such evidence and arguments is far outweighed by the
                  11     substantial risk of unfair prejudice to Plaintiff, confusion of issues, in addition to
                  12     being a waste of time and delaying the proceedings under Federal Rule of Evidence
                  13     403.
                  14            The Motion is based on this Notice of Motion, the accompanying
                  15     Memorandum of Points and Authorities, the concurrently filed Declaration of
                  16     Patrick M. Arenz and the exhibits attached thereto, and on such other oral or
                  17     documentary evidence as may be presented at any hearing on this Motion. Plaintiff
                  18     will lodge a proposed order along with this Motion.
                  19            This Motion is made following the Local Rule 7-3 conference of counsel,
                  20     which took place on October 4, 2024, at 11:00 a.m. PT. Patrick Arenz, Emily Niles,
                  21     and Annie Huang, counsel for Plaintiff, and Nicolas Jampol and Cydney Freeman,
                  22     counsel for Defendants, participated in the conference. The conference lasted about
                  23     45 minutes to an hour. Counsel addressed each of the party’s motions in limine.
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ROBINS KAPLAN LLP                                                             PLAINTIFF’S MOTION IN LIMINE NO. 5 TO
  ATTORNEYS AT LAW                                                             EXCLUDE EVIDENCE AND ARGUMENTS
    LOS ANGELES
                                                                                      ABOUT DISCOVERY SANCTIONS
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                         Dated: October 11, 2024               ROBINS KAPLAN LLP
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                     3
                                                               By: /s/ Patrick M. Arenz
                     4                                              Patrick M. Arenz
                     5                                             Attorneys for Plaintiff
                                                                   Francesca Gregorini
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ROBINS KAPLAN LLP                                                      PLAINTIFF’S MOTION IN LIMINE NO. 5 TO
  ATTORNEYS AT LAW                                                      EXCLUDE EVIDENCE AND ARGUMENTS
    LOS ANGELES
                                                                               ABOUT DISCOVERY SANCTIONS
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                     1                                    INTRODUCTION
                     2         Plaintiff Francesca Gregorini moves to preclude Defendants from presenting
                     3   any evidence or arguments referencing discovery sanctions against her at trial.
                     4   Neither the discovery sanctions nor the details of any related motion are relevant to
                     5   any of the parties’ claims or defenses. Instead, discussion of sanctions at trial would
                     6   unfairly prejudice Ms. Gregorini, confuse the issues, mislead the jury, and waste
                     7   time. Ms. Gregorini thus requests that the Court preclude Defendants from
                     8   referencing the discovery sanctions or related discovery motions against her at trial.
                     9                              FACTUAL BACKGROUND
                  10           A series of unusual and unfortunate circumstances involving Ms. Gregorini’s
                  11     prior counsel impacted this litigation. See Dkt. 132. His significant health issues
                  12     affected a variety of discovery disputes and resulted in motions practice. See, e.g.,
                  13     Dkts. 116, 129. In one of those motions, Defendants sought to compel Ms.
                  14     Gregorini to produce documents responsive to a host of document requests. Dkt.
                  15     116. Ms. Gregorini’s prior counsel agreed to produce certain documents, and the
                  16     Court entered an order in September 2023 setting a deadline for that production.
                  17     See Dkt. 120. Just two weeks later, however, Plaintiff’s prior counsel moved to
                  18     continue all deadlines because lead counsel, Mr. Erikson, was suffering from colon
                  19     cancer. Dkts. 121, 124. The Court extended the case schedule as a result. Dkt. 132.
                  20     Discovery continued, but Mr. Erikson’s illness continued to impact his ability to
                  21     prosecute the case and participate in discovery. Dkts. 121-2, 124-1, 127. His
                  22     condition declined over the course of months while the discovery clock ran. Sadly,
                  23     Mr. Erikson passed away in February 2024. See Dkt. 144-20 ¶ 4.
                  24           Ms. Gregorini had to obtain new counsel in late March 2024. Dkts. 133-142.
                  25     As her current counsel got up to speed on the case, Defendants informed them of
                  26     disputes over Plaintiff’s lack of production of documents in response to dozens of
                  27     document requests at issue in the earlier motion. Her current counsel immediately
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ROBINS KAPLAN LLP                                                            PLAINTIFF’S MOTION IN LIMINE NO. 5 TO
  ATTORNEYS AT LAW
    LOS ANGELES
                                                                 -1-          EXCLUDE EVIDENCE AND ARGUMENTS
                                                                                     ABOUT DISCOVERY SANCTIONS
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                     1   began evaluating outstanding discovery issues and working with Ms. Gregorini to
                     2   complete her document production. Dkt. 144-9. Unfortunately, Ms. Gregorini had
                     3   not been aware of the prior discovery order or her prior counsel’s agreements about
                     4   her document production. Dkt. 144-20.
                     5         While Ms. Gregorini and her counsel were working to complete document
                     6   production Defendants filed a follow-on motion to compel Ms. Gregorini’s
                     7   compliance with the prior discovery order requiring document production. Dkt.
                     8   143. They also sought an order finding Ms. Gregorini in contempt and seeking
                     9   broad discovery, evidentiary, and monetary sanctions against Ms. Gregorini
                  10     personally. See Dkt. 144 at 99-100. As a result of the prior counsel’s agreements to
                  11     produce documents, and the timing of Ms. Gregorini’s completion of production
                  12     with her current counsel, the Court granted-in-part and denied-in-part Defendants’
                  13     motion. Dkt. 155. Ms. Gregorini was ordered to complete production of certain
                  14     documents, to sit for and pay the costs of her second deposition, produce a privilege
                  15     log, and pay Defendants’ reasonable attorney’s fees for filing their motion. Id. The
                  16     Court denied Defendants’ request for more severe sanctions. Id. And Defendants
                  17     agreed with the Court’s decision. Dkt. 184 at 20:8-9.
                  18           Mr. Gregorini completed her document production and fulfilled the other
                  19     requirements of the Court’s discovery order. See Dkt. 184 at 11:20-14:18; 19:20-
                  20     20:10. While the course of this discovery dispute was anything but straightforward,
                  21     the parties moved forward to complete fact discovery, expert discovery, and
                  22     dispositive motions consistent with the scheduling order.
                  23                                        ARGUMENT
                  24           The Court should preclude any reference to discovery sanctions against Ms.
                  25     Gregorini at trial under Federal Rules of Evidence 402 and 403. To start, the
                  26     discovery sanctions are not relevant to any claim or defense at trial. “Evidence is
                  27     relevant if (a) it has any tendency to make a fact more probable or less probable than
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ROBINS KAPLAN LLP                                                           PLAINTIFF’S MOTION IN LIMINE NO. 5 TO
  ATTORNEYS AT LAW
    LOS ANGELES
                                                                 -2-         EXCLUDE EVIDENCE AND ARGUMENTS
                                                                                    ABOUT DISCOVERY SANCTIONS
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                     1   it would be without the evidence; and (b) the fact is of consequence in determining
                     2   the action.” Fed. R. Evid. 401. Courts generally exclude evidence and argument about
                     3   discovery sanctions from trial:
                     4       Pellegrini v. Gooder, No. CV 11-6908, 2012 WL 12893745, at *1 (C.D.
                     5         Cal. Dec. 6, 2012) (granting “Defendants’ Motion in Limine No. 2 to
                     6         exclude all references to the sanction previously imposed on the Defendants
                     7         with regard to discovery disclosures” because it was “not relevant”);
                     8       Green v. Baca, 226 F.R.D. 624, 642 (C.D. Cal. 2005), order clarified, No.
                     9         CV 02-204744, 2005 WL 283361 (C.D. Cal. Jan. 31, 2005) (excluding
                  10           references to discovery violations without evidence of intentional
                  11           wrongdoing as irrelevant and unfairly prejudicial);
                  12         RCHFU, LLC v. Marriott Vacations Worldwide Corp., 445 F. Supp. 3d
                  13           1327, 1331 (D. Colo. 2020) (excluding references to discovery sanctions
                  14           because they were not relevant to any claim);
                  15         United     States   v.   Cameron-Ehlen     Grp.,   Inc.,   No.   13-CV-3003
                  16           (WMW/DTS), 2023 WL 36174, at *8 (D. Minn. Jan. 4, 2023) (excluding
                  17           evidence of past evidentiary sanctions as irrelevant).
                  18     Here, the jury will decide whether Defendants infringed Ms. Gregorini’s copyright
                  19     in The Truth About Emanuel. But the complicated saga of Ms. Gregorini’s discovery
                  20     efforts and Defendants’ motions does not affect that issue. Indeed, no information on
                  21     the timing of Ms. Gregorini’s document production, her prior counsel’s discovery
                  22     efforts or illness, or the related discovery sanctions will aid the jury in determining
                  23     any fact of consequence. Information about the discovery sanctions against Ms.
                  24     Gregorini is irrelevant and thus inadmissible under Rule 402.
                  25           Nor could evidence of the discovery sanctions withstand the balancing analysis
                  26     of Rule 403. Even relevant evidence may be excluded “if its probative value is
                  27     substantially outweighed by a danger of . . . unfair prejudice, confusing the issues,
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ROBINS KAPLAN LLP                                                           PLAINTIFF’S MOTION IN LIMINE NO. 5 TO
  ATTORNEYS AT LAW
    LOS ANGELES
                                                                 -3-         EXCLUDE EVIDENCE AND ARGUMENTS
                                                                                    ABOUT DISCOVERY SANCTIONS
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                     1   misleading the jury, undue delay, [or] wasting time[.]” Fed. R. Evid. 403. Injecting
                     2   discussions of discovery sanctions against Ms. Gregorini into trial presents
                     3   substantial danger on all those fronts.
                     4         Mention of discovery sanctions would risk significantly prejudicing the jury
                     5   against Ms. Gregorini. Indeed, courts preclude reference to discovery sanctions that
                     6   were meant “to put the parties back on as level a playing field as possible, not to
                     7   afford one party a possible leg up at trial.” RCHFU, 445 F. Supp. 3d at 1332; Fluor
                     8   Corp. v. Zurich Am. Ins., No. 4:16CV00429, 2021 WL 3021973, at *6 (E.D. Mo.
                     9   July 16, 2021) (explaining that “[a]ny limited probative value of additional evidence
                  10     and argument [about discovery sanctions] is outweighed by the risk of unfair
                  11     prejudice”). Allowing discussion of sanctions would be an additional sanction that is
                  12     not warranted under these circumstances. Mfg. Automation & Software Sys., Inc. v.
                  13     Hughes, No. 216CV08962, 2019 WL 266970, at *6 (C.D. Cal. Jan. 15, 2019)
                  14     (excluding references and evidence of the magistrate judge’s discovery order
                  15     imposing monetary sanctions for spoliation of evidence because it “would be
                  16     improper to provide an additional remedy, in addition to the sanction awarded by the
                  17     Magistrate Judge.”).
                  18           Discussion of discovery sanctions also risks confusing the jury and wasting
                  19     time at trial. See Green, 226 F.R.D. at 642 (excluding references to discovery
                  20     violations without evidence of intentional wrongdoing as irrelevant and unfairly
                  21     prejudicial). Indeed, any mention of the sanctions would need to be unpacked with
                  22     an explanation of Ms. Gregorini’s efforts over the course of discovery, as well as the
                  23     unfortunate medical issues of her prior counsel that led to his death. Such a digression
                  24     would result in mini retrials covering discovery processes that the jury would likely
                  25     not understand, let alone need not decide. That would only confuse the jury, waste
                  26     time, and delay the proceeding. As a result, any probative value of mentioning
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ROBINS KAPLAN LLP                                                            PLAINTIFF’S MOTION IN LIMINE NO. 5 TO
  ATTORNEYS AT LAW
    LOS ANGELES
                                                                   -4-        EXCLUDE EVIDENCE AND ARGUMENTS
                                                                                     ABOUT DISCOVERY SANCTIONS
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                     1   discovery sanctions is far outweighed by the risk of confusing and distracting the jury
                     2   and unfairly prejudicing Ms. Gregorini.
                     3                                     CONCLUSION
                     4          The issue for the jury to decide is whether Defendants infringed Ms.
                     5   Gregorini’s copyright in her film, The Truth About Emanuel. Nothing about that
                     6   question turns on the outcome of Defendants’ motion to compel Ms. Gregorini’s
                     7   document production or associated discovery sanctions. Ms. Gregorini thus
                     8   requests that the Court preclude Defendants from presenting any evidence or
                     9   arguments at trial relating the discovery sanctions and associated motions against
                  10     her.
                  11
                  12     Dated: October 11, 2024                    ROBINS KAPLAN LLP
                  13
                  14                                                By: /s/ Patrick M. Arenz
                                                                         Patrick M. Arenz
                  15
                                                                         Attorneys for Plaintiff
                  16                                                     Francesca Gregorini
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ROBINS KAPLAN LLP                                                           PLAINTIFF’S MOTION IN LIMINE NO. 5 TO
  ATTORNEYS AT LAW
    LOS ANGELES
                                                                 -5-         EXCLUDE EVIDENCE AND ARGUMENTS
                                                                                    ABOUT DISCOVERY SANCTIONS
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                  10     Attorneys for Plaintiff Francesca Gregorini
                  11
                                             UNITED STATES DISTRICT COURT
                  12
                                           CENTRAL DISTRICT OF CALIFORNIA
                  13
                  14
                         Francesca Gregorini,                     Case No. 2:20-cv-00406-SSS-JC
                  15
                                        Plaintiff,                CERTIFICATE OF COMPLIANCE
                  16
                               v.
                  17                                             Date:     November 15, 2024
                         APPLE INC., a California
                  18     corporation; M. NIGHT                   Time:     2:00 P.M.
                         SHYAMALAN, an individual,               Dept.:    Courtroom 2
                  19     BLINDING EDGE PICTURES,
                         INC., a Pennsylvania corporation;
                  20     UNCLE GEORGE PRODUCTIONS,
                         a Pennsylvania corporate; ESCAPE
                  21     ARTISTS LLC, a California limited
                         liability company; DOLPHIN
                  22     BLACK PRODUCTIONS, a
                         California corporation; TONY
                  23     BASGALLOP, an individual;
                         ASHWIN RAJAN, an individual;
                  24     JASON BLUMENTHAL, an
                         individual; TODD BLACK, an
                  25     individual; STEVE TISCH, an
                         individual; and DOES 1-10, inclusive,
                  26
                                        Defendants.
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ROBINS KAPLAN LLP
  ATTORNEYS AT LAW
    LOS ANGELES
                                                                                CERTIFICATE OF COMPLIANCE
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                     1         The undersigned, counsel of record for Plaintiff Francesca Gregorini,
                     2   certifies that this brief contains 5 pages, which complies with the page limit set by
                     3   court order dated August 26, 2022.
                     4
                         Dated: October 11, 2024                     ROBINS KAPLAN LLP
                     5
                     6
                                                                     By: /s/ Patrick M. Arenz
                     7                                                  Patrick M. Arenz
                     8                                               Attorneys for Plaintiff
                                                                     Francesca Gregorini
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    LOS ANGELES
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